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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
CARMEN CRUZ                         :     CIVIL ACTION—LAW
                                    :
      vs.                           :     NO.
                                    :
WAL-MART STORES EAST, LP            :     JURY TRIAL DEMANDED
______________________________________________________________________________

       DEFENDANT WAL-MART STORES EAST, LP’S NOTICE OF REMOVAL

       Defendant Wal-Mart Stores East, LP (hereinafter referred to as “Walmart”), by and

through its attorneys, Law Offices of McDonnell & Associates, P.C., hereby submits its Notice

of Removal pursuant to 28 U.S.C. §§ 1441(a) and (b), and 1446(c)(2) and avers as follows:

1.     On November 27, 2018, Plaintiffs filed a Complaint in the Court of Common Pleas for

Philadelphia County (“County Action”). See a true and correct copy of the Complaint attached

hereto as Exhibit “A.”

2.     In the Complaint, Plaintiff named Wal-Mart Stores East, LP, and Wal-Mart Stores, Inc.

as defendants. By Stipulation of Counsel, filed in the Court of Common Pleas of Philadelphia on

December 21, 2018, Plaintiff agreed to dismiss all claims against Wal-Mart Stores, Inc. and

amend the caption to reflect Wal-Mart Stores East, LP, as the only named defendants. See a true

and correct copy of the Stipulation attached hereto as Exhibit “B”.

3.     Walmart was served with a copy of the Complaint on December 3, 2018. This Notice of

Removal is filed within thirty (30) days of service of the Complaint.

4.     The Court of Common Pleas for Philadelphia County is within the jurisdiction of the

United States District Court for the Eastern District of Pennsylvania.

5.     Plaintiffs allege that they reside at 536 East Indiana Avenue, Philadelphia, PA 19134.

See Ex. “A”, ¶ 1.
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